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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
                             EASTERN DIVISION
________________________________________

SERVICIOS FUNERARIOS GG, S.A. DE C.V.,                       Case No. 23-cv-10684

       Plaintiff/Counter-Defendant,

       v.

ADVENT INTERNATIONAL CORPORATION,

      Defendant/Counter-Plaintiff.
________________________________________/


 DECLARATION OF CARLOS M. SIRES IN SUPPORT OF MOTION TO COMPEL
ADVENT INTERNATIONAL CORPORATION TO (1) PRODUCE DOCUMENTS AND
                (2) RESPOND TO INTERROGATORIES

       I, Carlos M. Sires, a Partner of the law firm of Boies Schiller Flexner, LLP that represents
Plaintiff and Counterclaim-Defendant Servicios Funerarios GG, S.A. DE C.V. (“Servicios
Funerarios”) in this matter, respectfully submit this Declaration and hereby state as follows:
       1.        Exhibit A annexed hereto is AIC’s Rule 26 Initial Disclosures.
       2.        Exhibit B annexed hereto is AIC’s Proposed Search Protocol.
       3.        Exhibit C annexed hereto is Servicios Funerarios’ Proposed Search Protocol.
       4.        Exhibit D annexed hereto is Excerpt from June 7, 2023 email from C. Sires to G.
Soledad.
       5.        Exhibit E annexed hereto is the September 11, 2023 correspondence from C. Sires
to G. Soledad.
       6.        Exhibit F annexed hereto is the Excerpt from September 21, 2023 email from C.
Sires to G. Soledad, at 3.
       7.        Exhibit G annexed hereto is the Excerpt from September 22, 2023 email from V.
Ramos to C. Sires, at 3.
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          8.      Exhibit H annexed hereto is the Excerpt from email from A. Varela to V. Ramos,
at 4.
          9.      Exhibit I annexed hereto is the Excerpt of September 29, 2023 email from V.
Ramos to C. Sires, at 3.
          10.     Exhibit J annexed hereto is the Excerpt of Sept. 9, 2023 email from Joseph
Margolies to C. Sires, at 2-3.
          11.     Exhibit K annexed hereto is the Excerpt of Sept. 13, 2023 email from A. Varela to
G. Soledad, at 1-2.
          12.     Exhibit L annexed hereto is the List of Narrowed Search Terms for Disputed
Period.
          13.     Exhibit M annexed hereto is the Excerpt of Oct. 16, 2023 Letter from C. Sires to
G. Soledad, at 1.
          14.     Exhibit N annexed hereto is Servicios Funerarios’ First Set of Interrogatories to
AIC.
          15.     Exhibit O annexed hereto is the AIC’s Responses to Servicios Funerarios’ First
Set of Interrogatories.
          16.     Exhibit P annexed hereto is the Servicios Funerarios’s Second Set of
Interrogatories to AIC.
          17.     Exhibit Q annexed hereto is the AIC’s Responses to Servicios Funerarios’ Second
Set of Interrogatories.
          18.     Exhibit R annexed hereto is the October 11, 2023 Letter from C. Sires to G.
Soledad and D. Ward.


          The foregoing is true and correct to the best of my knowledge.


Dated: October 30, 2023                                 Respectfully submitted,

 LESSER, NEWMAN, ALEO & NASSER LLP                   BOIES SCHILLER FLEXNER LLP

 Michael Aleo                                        /s/ Carlos M. Sires
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                                                   Servicios Funerarios GG, S.A. de C.V.


                                 CERTIFICATE OF SERVICE

       I, Carlos M. Sires, hereby certify that the above was filed through the ECF system and

that I have caused a true and correct copy of the above to be served on Plaintiff’s counsel.


Date: October 30, 2023                               By:/s/ Carlos M. Sires
                                                            Carlos M. Sires
